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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
RICHMOND DIVISION

IN RE: INTERIOR MOLDED DOORS Lead Civil Action No. 3:18-cv-00850-JAG
INDIRECT PURCHASER ANTITRUST
LITIGATION

FINAL JUDGMENT APPROVING SETTLEMENT
AGREEMENT BETWEEN INDIRECT PURCHASER PLAINTIFFS AND
DEFENDANTS AND ENTERING DISMISSAL WITH PREJUDICE AS TO
DEFENDANTS

This matter has come before the Court to determine whether there is any cause why this
Court should not approve the Settlement Agreement between Indirect Purchaser Plaintiffs
(“IPPs”) and Defendants JELD-WEN, Inc. (“JELD-WEN”) and Masonite Corporation
(“Masonite”) (collectively, “Defendants’) set forth in the Settlement Agreement, dated
September 4, 2020, relating to the Action. The Court, after carefully considering all papers filed
and proceedings held herein and otherwise being fully informed, has determined that (1) the
Settlement Agreement should be approved, and (2) there is no just reason for delay of the entry
of this final judgment approving the Settlement Agreement (“Judgment”). Accordingly, the
Court directs entry of Judgment which shall constitute a final adjudication of this case on the
merits as to the parties to the Agreement. Good cause appearing therefor, it is:

ORDERED, ADJUDGED, AND DECREED THAT:

1. The definitions of terms set forth in the Settlement Agreement are incorporated
herein as though fully set forth in this Judgment.

2. Pursuant to Federal Rule of Civil Procedure (“Rule”) 23(g), Robins Kaplan LLP,

Gustafson Gluek PLLC, and Joseph Saveri Law Firm, previously appointed by the Court as
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Interim Co-Lead Class Counsel, are appointed as Counsel for the Settlement Class. These firms
have, and will, fairly and competently represent the interests of the Settlement Class.

3. The Court has jurisdiction over the subject matter of this litigation, over the
Action, and over the parties to the Settlement Agreement, including all members of the
Settlement Class.

4. Plaintiffs, having filed a complaint in the Action alleging that the Defendants
conspired to artificially increase and fix the prices for Interior Molded Doors, and the
Defendants, having denied IPPs’ allegations and having represented they would assert defenses
thereto, have entered into the Settlement Agreement to settle the Action without admitting
liability, to avoid further expense, inconvenience, and the distraction of burdensome and
protracted litigation; to obtain the releases, orders, and judgment contemplated by the Settlement
Agreement; and to put to rest with finality any and all claims that have been or could have been
asserted against the Defendants arising out of or related to the allegations in this Action. Pursuant
to the Settlement Agreement, the Defendants have agreed to provide specified monetary
compensation to IPPs ($9,750,000.00 by each Defendant ($19,500,000.00 total for both
Defendants)).

5. The Court hereby finally approves and confirms the settlement set forth in the
Settlement Agreement and finds that said settlement is, in all respects, fair, reasonable, and
adequate to the Settlement Class pursuant to Rule 23.

6. The Court hereby dismisses on the merits and with prejudice the individual and
class claims asserted against the Defendants, with IPPs and the Defendants to bear their own

costs and attorneys’ fees except as provided herein.
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7. All persons and entities that are Releasors are hereby barred and enjoined from
commencing, prosecuting, or continuing, either directly or indirectly, in an individual,
representative, or derivative capacity, against the Releasees, in this or any other jurisdiction, any
and all claims, causes of action, or lawsuits, which they had, have, or in the future may have,
arising out of or related to any of the Released Claims as defined in the Settlement Agreement.

8. The Releasees are hereby and forever released and discharged with respect to any
and all claims or causes of action which the Releasors had, have, or in the future may have,
arising out of or related to any of the Released Claims as defined in the Settlement Agreement at
paragraph 29.

9, Neither the Settlement Agreement, nor any act performed or document executed
pursuant to the Settlement Agreement, may be deemed or used as an admission of wrongdoing in
any civil, criminal, administrative, or other proceeding in any jurisdiction.

10. The notice given to the Settlement Class of the settlement set forth in the
Settlement Agreement and the other matters set forth herein was the best notice practicable under
the circumstances. Said notice provided due and adequate notice of the proceedings and of the
matters set forth therein, including the proposed settlement set forth in the Settlement
Agreement, to all persons and entities entitled to such notice, and said notice fully satisfied the
requirements of Rules 23(c)(2) and 23(e) and the requirements of due process.

11. Without affecting the finality of this Judgment in any way, the Court hereby
retains exclusive jurisdiction over: (a) the enforcement of this Judgment; (b) the enforcement of
the Settlement Agreement; (c) any application for distribution of funds, attorneys’ fees, or

reimbursement of costs and expenses made by Interim Co-Lead Class Counsel; (d) any
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application for service awards for the Plaintiffs; and (e) the distribution of the settlement
proceeds to members of the Settlement Class.

12. No Settlement Class Member has requested to be excluded from the Settlement
Class. No Settlement Class Member has objected to the Settlement, attorneys’ fees, expenses,
costs, or plan of allocation.

13. In the event that the settlement does not become effective in accordance with the
terms of the Settlement Agreement, then this Judgment shall be rendered null and void and shall
be vacated, and in such event, all orders entered and releases delivered in connection herewith
shall be null and void, and the parties shall be returned to their respective positions ex ante,
except that IPPs shall not be obligated to reimburse Defendants for expenses incurred in
connection with notice and administration of the Settlement Agreement up to $500,000 for each
Defendant.

14. Defendants’ cash payments under the Settlement Agreement are $9,750,000.00
for JELD-WEN and $9,750,000.00 for Masonite. JELD-WEN will deposit $9,250,000.00 and
Masonite will deposit $9,250,000.00 (i.e., the Settlement Amount less the $500,000.00
previously deposited by each Defendant for expenses incurred by Co-Lead Class Counsel in
connection with notice and administration of the Settlement Class) into the Escrow Account
previously established in the Court’s preliminary approval order, not later than ten (10) business
days after the entry of this Final Approval Order. That account is, and remains, a Qualified
Settlement Fund pursuant to Internal Revenue Code Section 468B and the Treasury Regulations

promulgated thereunder.
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15. The Court finds, pursuant to Rules 54(a) and (b) that this Judgment should be
entered and further finds that there is no just reason for delay in the entry of this Judgment as a
final judgment as to the parties to the Agreement.

16. Accordingly, the Court hereby determines that there is no just reason for delay
and hereby directs entry of this Judgment as a final judgment pursuant to Rule 54(b) and directs

the Clerk to enter Judgment forthwith.

IT IS SO ORDERED.

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Hon. JohniAwGibneéys Distrtct Ise
United States District Judge

